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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Case No. 1:22-cv-00486-RM-MEH

  ALLEN GONZALES, individually,

         Plaintiff,

  v.

  FREMONT PAVING & REDI-MIX, INC. d/b/a ARY CORPORATION, a Colorado
  corporation,

         Defendant.



   DEFENDANT’S UNOPPOSED MOTION FOR INSURANCE REPRESENTATIVE TO
           APPEAR REMOTELY FOR SETTLEMENT CONFERENCE


         Defendant, Fremont Paving & Redi-Mix, Inc. d/b/a Ary Corporation (“Ary

  Corporation”), by and through its undersigned counsel, respectfully requests approval for its

  insurance representative to appear for the Settlement Conference via remote means. In support

  of this Unopposed Motion, Ary Corporation states as follows:

         1.      Certification of Compliance with D.C.COLO.LCivR. 7.1(a). The undersigned

  counsel for Ary Corporation states that she conferred with counsel for Plaintiff regarding the

  relief requested in this Motion. Plaintiff does not oppose the relief requested herein.

         2.      A Settlement Conference is scheduled for May 26, 2022 at 11:00 a.m. (Doc. No.

  13).

         3.      Pursuant to the Minute Order setting the Settlement Conference, “[i]n exceptional


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  circumstances only, the appearance of an insurance representative remotely may be approved in

  advance of the conference.” (Doc. No. 13).

          4.        Exceptional circumstances exist for approval of Ary Corporation’s insurance

  representative to appear at the Settlement Conference via remote means because:

                    a.     The Complaint in this matter was filed on February 25, 2022.

                    b.     In March 2022, the parties began discussing early settlement options and

  agreed to request a Settlement Conference with the Magistrate Judge.

                    c.     Also in March 2022, Ary Corporation gave notice of Plaintiff’s Complaint

  to its insurer.

                    d.     On April 8, 2022, the parties filed a Joint Motion for Settlement

  Conference with Magistrate Judge (Doc. No. 11).

                    d.     The Settlement Conference was set before the insurer accepted the claim.

                    e.     Ary Corporation’s insurer is located in Simsbury, Connecticut and has

  advised it has insufficient time to coordinate its representative to travel to Denver, Colorado to

  attend the Settlement Conference in person.

                    f.     Ary Corporation’s insurance representative is able to attend the Settlement

  Conference via remote means.

                    g.     The parties wish to avoid rescheduling the Settlement Conference.

          5.        If this Unopposed Motion is granted, the undersigned counsel for Ary Corporation

  will contact Chambers to obtain instructions for its insurance representative’s remote appearance.




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         WHEREFORE, Defendant Fremont Paving & Redi-Mix, Inc. d/b/a Ary Corporation

  respectfully requests this Court to approve its insurance representative’s remote appearance at the

  Settlement Conference scheduled for May 26, 2022, at 11:00 a.m.



         Respectfully submitted this 23rd day of May, 2022.

                                             THE WORKPLACE COUNSEL
                                              s/ Jennifer L. Gokenbach
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                                              Counsel for Defendant Ary Corporation




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 23rd day of May, 2022, I electronically filed the foregoing
  DEFENDANTS UNOPPOSED MOTION FOR INSURANCE REPRESENTATIVE TO
  APPEAR FOR SETTLEMENT CONFERENCE VIA REMOTE MEANS with the Clerk of
  the Court using the CM/ECF system, which will send notification of such filing to all counsel of
  record who have entered an appearance in the case.

                                                     s/ Jennifer L. Gokenbach
                                                     Jennifer L. Gokenbach




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